                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION
PATRICIA ANN WHITEFORD,                              )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )      No. 20-04136-CV-C-DPR-SSA
                                                     )
ANDREW M. SAUL,                                      )
                                                     )
               Defendant.                            )
                                            ORDER

       Before the Court is Plaintiff’s Response to Order to Show Cause. (Doc. 3.) On November

3, 2020, the Court ordered Plaintiff to show cause in writing why this action should not be

dismissed for failure to effect proper service on Defendant within 90 days. (Doc. 2.) Plaintiff now

states that the failure was due to a ransomware attack on her counsel’s law office, and that the

calendaring of service upon Defendant had not been restored due to an oversight of counsel. Upon

review, the Court finds that Plaintiff has shown cause as ordered, and the action will not be

transferred to a district judge for dismissal at this time. Furthermore, the time for service is

extended for a period of 30 days from the date of this Order.

       IT IS SO ORDERED.

                                                     /s/ David P. Rush
                                                     DAVID P. RUSH
                                                     UNITED STATES MAGISTRATE JUDGE

DATE: November 6, 2020




            Case 2:20-cv-04136-DPR Document 4 Filed 11/06/20 Page 1 of 1
